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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-1101V
                                          UNPUBLISHED


    BRENDA MCBRIDE,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: December 14, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Lawrence R. Cohan, Anapol Weiss, Philadelphia, PA, for Petitioner.

Lara Ann Englund, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

       On July 30, 2019, Brenda McBride filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a full thickness rotator cuff tear that
was caused-in-fact by an influenza (“flu”) vaccine that was administered to her on
November 10, 2017. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

        On November 18, 2020, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for SIRVA. On December 14, 2020, Respondent filed a proffer
on award of compensation (“Proffer”) indicating Petitioner should be awarded $85,000.00.
Proffer at 1. In the Proffer, Respondent represented that Petitioner agrees with the


1  Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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proffered award. Id. Based on the record as a whole, I find that Petitioner is entitled to an
award as stated in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $85,000.00 in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

BRENDA MCBRIDE,                                      )
                                                     )
                       Petitioner,                   )
                                                     )
       v.                                            ) No. 19-1101V
                                                     ) Chief Special Master Brian Corcoran
SECRETARY OF                                         )
HEALTH AND HUMAN SERVICES,                           )
                                                     )
                       Respondent.                   )
                                                     )

              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On November 17, 2020, respondent filed a Vaccine Rule 4(c) report concluding that

petitioner suffered a Shoulder Injury Related to Vaccine Administration (“SIRVA”) within the

Table timeframe following an influenza vaccination, which was compensable under the National

Childhood Vaccine Injury Act of 1986, as amended, 42 U.S.C. §§ 300aa-1 to -34. Accordingly,

on November 18, 2020, the Chief Special Master issued a Ruling on Entitlement.

I.    Items of Compensation

       Respondent proffers that petitioner should be awarded $85,000.00 for all elements of

compensation to which petitioner is entitled under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

II.    Form of the Award

       Respondent recommends that the compensation provided to petitioner should be made

through a lump sum payment of $85,000.00 in the form of a check payable to petitioner. 1 This




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future medical
expenses, future pain and suffering, and future lost wages.
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lump sum payment represents all elements of compensation to which petitioner would be entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                             Respectfully submitted,

                                             JEFFREY BOSSERT CLARK
                                             Acting Assistant Attorney General

                                             C. SALVATORE D’ALESSIO
                                             Acting Director
                                             Torts Branch, Civil Division

                                             CATHARINE E. REEVES
                                             Deputy Director
                                             Torts Branch, Civil Division

                                             GABRIELLE FIELDING
                                             Assistant Director
                                             Torts Branch, Civil Division

                                             s/ LARA A. ENGLUND
                                             LARA A. ENGLUND
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Dated: December 14, 2020




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